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 7
                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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10            RICHARD DWYER,                               CASE NO. C20-1236JLR

11                                Plaintiff,               ORDER OF REFERENCE
                    v.
12
              TRINITY FINANCIAL SERVICES
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              LLC,
14
                                  Defendant.
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              This action is assigned to the Honorable James L. Robart, United States District
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     Judge. All future documents filed in this case must bear the cause number
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     C20-1236JLR-MAT. The court has reviewed the files and records herein and determined
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     that certain pretrial matters are appropriate to refer to a Magistrate Judge as described
19
     below.
20
              Pursuant to 28 U.S.C. § 636(b)(1)(A) and Local Rule MJR 3, the court hereby
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     refers to Magistrate Judge Mary Alice Theiler all motions to amend or supplement the
22


     ORDER - 1
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 1   pleadings under Federal Rule of Civil Procedure 15, and all motions related to discovery

 2   disputes, including but not limited to motions to compel discovery, motions for a

 3   protective order related to discovery, and motions related to issues of privilege. See 28

 4   U.S.C. § 636(b)(1)(A); Local Rules W.D. Wash. MJR 3(a). Federal Rule of Civil

 5   Procedure 72(a) governs any objections to Magistrate Judge Mary Alice Theiler’s rulings

 6   concerning the above-described discovery motions. See Fed. R. Civ. P. 72(a); Local

 7   Rules W.D. Wash. MJR 3(b).

 8          Pursuant to 28 U.S.C. § 636(b)(1)(B) and (C) and Local Rule MJR 4, the court

 9   also hereby refers to Magistrate Judge Mary Alice Theiler for preparation of a report and

10   recommendation all motions (1) for a temporary restraining order pursuant to Federal

11   Rule of Civil Procedure 65(b); 1 (2) for judgment on the pleadings pursuant to Federal

12   Rule of Civil Procedure 12(c); (3) to dismiss pursuant to Federal Rule of Civil Procedure

13   12(b); and (4) for a default judgment pursuant to Federal Rule of Civil Procedure 55(b).

14   See 28 U.S.C. § 636(b)(1)(B); Local Rules W.D. Wash. MJR(a)(3). Federal Rule of Civil

15   Procedure 72(b) governs any further proceedings in this court after Magistrate Judge

16   Mary Alice Theiler files a report and recommendation. See Fed. R. Civ. P. 72(b); Local

17   Rules W.D. Wash. MJR 4(c).

18          Accordingly, the court ORDERS that the above-entitled action is referred to

19   Magistrate Judge Mary Alice Theiler for the specific purposes and types of motions

20   described herein. The court further DIRECTS and EMPOWERS Magistrate Judge Mary

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              For motions for a temporary restraining order, Magistrate Judge Mary Alice Theiler is
22   authorized to prepare the order as recommended for the undersigned’s signature.


     ORDER - 2
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 1   Alice Theiler to conduct hearings and make further necessary orders consistent with 28

 2   U.S.C. § 636, the local rules, and this order.

 3          Dated this 16th day of September, 2020.

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 5                                                    A
                                                      JAMES L. ROBART
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                                                      United States District Judge
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     ORDER - 3
